                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA


MYRNA SAGOONICK, ALLEN
SAGOONICK and MURIEL SAGOONICK,

                            Plaintiffs,
              v.

UNITED STATES OF AMERICA,

                           Defendant.           Case No. 3:17-cv-00052-SLG



                         ORDER RE UNOPPOSED MOTION

      Upon consideration of the United States’ Unopposed Motion to Dismiss

Defendants U.S. Department of Health and Social Services, Indian Health Service and

Chugach-Muit, Inc. d/b/a North Star Health Clinic (Docket 7), the Court hereby GRANTS

the motion.

      IT IS ORDERED that the U.S. Department of Health and Social Services, Indian

Health Service and Chugach-Muit, Inc. d/b/a North Star Health Clinic are all DISMISSED

from this matter. The Clerk of Court is directed to amend the caption to be as set forth

above.



      DATED this 24th day of May, 2017 at Anchorage, Alaska.

                                          /s/ Sharon L. Gleason
                                          UNITED STATES DISTRICT JUDGE




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